                      Case 1:21-cr-00420-RBW Document 1 Filed 03/17/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                             District of &ROXPELD

                  United States of America                            )
                             v.                                       )
                      William Tryon                                   )      Case No.
                                                                      )
                                                                      )
                                                                      )
         'DWHRI%LUWK;;;;;;;;                                     )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                      January 6, 2021              in the county of                              in the
                                           LQWKH'LVWULFWRI    &ROXPELD , the defendant(s) violated:

             Code Section                                                       Offense Description

             18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
             Without Lawful Authority,
             18 U.S.C. § 1752(a)(2) - Knowingly Engaging in Disorderly or Disruptive Conduct in any
             Restricted Building or Grounds,
             40 U.S.C. § 5104(e)(2) - Violent Entry and Disorderly Conduct on Capitol Grounds

         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                Complainant’s signature

                                                                                        Brad Theroux, Special Agent
                                                                                                Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                             2021.03.17
Date:
                                                                                                             20:46:42 -04'00'
                  03/17/2021
                                                                                                   Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                                Printed name and title
